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     ARTURO M. CISNEROS
 7

 8                                    UNITED STATES BANKRUPTCY COURT

 9                        CENTRAL DISTRICT OF CALIFORNIA – RIVERSIDE DIVISION

10

11    In re                                                 Case No. 6:23-bk-15163-WJ
12    SHAMICKA LAWRENCE,                                    Chapter 7
13                        Debtor.                           CHAPTER 7 TRUSTEE’S MOTION FOR
                                                            ORDER COMPELLING DEBTOR AND
14                                                          ANY OTHER OCCUPANTS TO VACATE
                                                            AND TURN OVER REAL PROPERTY BY
15                                                          MAY 15, 2024; AND AUTHORIZING
                                                            ISSUANCE OF WRIT OF ASSISTANCE;
16                                                          MEMORANDUM OF POINTS OF
                                                            AUTHORITIES; DECLARATION OF
17                                                          ARTURO M. CISNEROS
18                                                          Date:        April 30, 2024
                                                            Time:        1:00 P.M.
19                                                          Ctrm:        304
                                                            Location:    3420 Twelfth Street
20                                                                       Riverside, CA 92501
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                                    TRUSTEE’S MOTION FOR TURNOVER OF PROPERTY
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 1   TO THE HONORABLE WAYNE JOHNSON, UNITED STATES BANKRUPTCY JUDGE, THE

 2   OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 3             Arturo M. Cisneros, solely in his capacity as Chapter 7 trustee (“Trustee”) of the bankruptcy

 4   estate (“Estate”) of Shamicka Lawrence (“Debtor”), seeks an order compelling turnover of the

 5   residential real property commonly known as 11364 Estates Court, Riverside, California 92503

 6   APN: 136-050-035 (“Property”). Trustee is not confident that Debtor will timely vacate the

 7   Property, given Debtor’s substantial undervaluation of the Property in her schedules, and claimed

 8   homestead exemption equal to approximately half of the scheduled value of the Property. Trustee

 9   requires an enforceable order granting possession as to the Debtor in order to give assurances to a

10   future buyer that possession of the Property can be delivered to a buyer upon the close of escrow.

11   1.        Summary of Argument
12             A Chapter 7 debtor has a duty to turn over possession of estate property to his Trustee so that
13   it may be liquidated for the benefit of creditors. In this case, Debtor has used and maintains the
14   Property as her primary residence, and Debtor’s mother and brother also live at the Property. With
15   the consent of the co-owner of the Property, the Lawrence Children’s Trust u/t/a May 6, 2014
16   (“Trust”), Trustee has listed and is marketing the Property for sale, and has received multiple offers.
17   Trustee expect to seek an order from the Court in the following month to sell the Property, subject to
18   overbid. In furtherance of this objective, Trustee attempted to negotiate a stipulation for turnover
19   with Debtor, but Debtor insisted on certain additional provisions regarding the prospective treatment
20   of her homestead exemption, and the parties were unable to reach a stipulated resolution. Trustee
21   therefore files this motion seeking an order of the Court for possession of the Property, which can be
22   enforced by the United States Marshals Service.
23   2.        Factual Background
24             On July 10, 2010, Debtor and Martin Lawrence (“Martin”)1 were married.
25             On April 25, 2012, a petition for dissolution of marriage was filed by Martin in Los Angeles
26   Superior Court, commencing case number BD563242 (“Dissolution Action”).
27

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     1
         Because of the familial relations, first names are used as abbreviated forms. No disrespect is intended.
                                                        2
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 1            On or about June 21, 2012, as instrument number 2012-0287965, a grant deed was recorded

 2   in the Riverside County Recorder’s Office, granting Martin Lawrence, as Trustee of The Lawrence

 3   Family Trust of 1994, U/D/T dated June 10, 1994, as amended (“Family Trust”) certain real

 4   property located at 11364 Estates Court, Riverside, California 92503, APN: 136-050-035.

 5            On August 7, 2014, judgment in the Dissolution Action was entered. In connection with the

 6   Dissolution Action, Debtor would receive a 50% interest in the Property pursuant to a confidential

 7   marital settlement agreement between the parties.

 8            On August 25, 2014, as instrument number 2014-0321210, an interspousal transfer grant

 9   deed was recorded in the Riverside County Recorder’s Office, transferring a 50% interest in the

10   Property to Debtor, a single woman.

11            On the same day, as instrument number 2014-0321211, a grant deed was recorded in the

12   Riverside County Recorder’s Office, transferring a 50% interest in the Property to Robert

13   Lawrence, as trustee of the Children’s Trust.

14            Subsequently, it appears that the mortgage on the Property was fully paid off. The Property

15   currently has no recorded liens or encumbrances.

16            On November 3, 2023 (“Petition Date”), Debtor filed a voluntary petition under Chapter 7

17   of Title 11 of the United States Code commencing Case No. 6:23-bk-15163-WJ. On the same day,

18   Arturo M. Cisneros was appointed as Chapter 7 Trustee of the Estate. Debtor’s petition was filed

19   without all schedules.

20            On November 17, 2023, as Dk. No. 10, Debtor filed schedules and a statement of financial

21   affairs. A true and correct copy of Debtor’s schedules is attached to the Request for Judicial Notice

22   (“RJN”) as Exhibit “1.”

23            Debtor’s schedules A/B listed an interest in real property located at 11364 Estates Court,

24   Riverside, California 92503 (previously defined as “Property”), with a scheduled value of

25   $1,200,000. Debtor also claimed a homestead exemption of $600,000 in the Property.

26            On January 30, 2024, as Dk. No. 39, Trustee filed an application to employ a real estate

27   broker (“Broker Application”). After the filing of the Broker Application, an attorney for the

28   Children’s Trust contacted Trustee to express nonconsent to sale of the Property.

                                                     3
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 1            On February 4, 2024, Trustee sent a proposed draft stipulation for turnover to Debtor,

 2   through counsel. After multiple rounds of attempting to negotiate a turnover stipulation, Trustee

 3   determined that it would be more cost-effective to simply file this motion instead.

 4            On February 14, 2024, as Dk. No. 45, a stipulation between Trustee and the Children’s Trust

 5   was filed regarding the terms between the parties for the marketing and sale of the Property.

 6   Subsequently, the Children’s Trust provided written consent to Trustee to begin marketing the

 7   Property.

 8            On March 22, 2024, the Property was listed for sale at $1,895,000. Trustee has received

 9   multiple offers for the Property, including that one party is conducting its diligence to remove

10   contingencies, and Trustee continues to market the Property for sale otherwise. Trustee is

11   considering scheduling a hearing on the motion to approve sale of the Property for May 14, 2024.

12   To avoid otherwise unnecessary procedural hurdles, Trustee is separately negotiating a stipulation

13   with the Children’s Trust to waive the requirement of an adversary proceeding to sell the co-owned

14   Property.

15            Trustee is informed that the Property may be currently occupied by the following

16   individuals: (1) Debtor; (2) Debtor’s non-debtor spouse Antwuan Hill; (3) Debtor’s brother Donnell

17   Gibbs; (4) Debtor’s mother Susan Gibbs; and (5-6) Debtor’s adult daughters and Children’s Trust

18   beneficiaries, Iyanna F. Lawrence and Amara T. Lawrence.

19   3.       Legal Argument
20            “Except as provided in subsection (c) or (d) of this section, an entity… shall deliver to the
21   trustee, and account for, such property or the value of such property, unless such property is of
22   inconsequential value or benefit to the estate.” 11 U.S.C. § 542(a). Moreover, a debtor has a duty to
23   cooperate with the Trustee and turn over all estate property. 11 U.S.C. § 521(a)(3)-(4).
24            A.          The Debtor’s interest in the Property is property of the Estate.
25            Section 541(a) of the Bankruptcy Code provides that upon the filing of a bankruptcy case, an
26   estate is created. 11 U.S.C. § 541(a). The estate is “comprised of all the following property,
27   wherever located and by whomever held: (1) . . . all legal or equitable interests of the debtor in
28   property as of the commencement of the case.” The bankruptcy court has exclusive jurisdiction over

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 1   property of the Estate. See 28 U.S.C. § 1334(e); Kismet Acquisition, LLC v. Icenhower (In re

 2   Icenhower), 757 F.3d 1044, 1050 (9th Cir. 2014) (court has “exclusive in rem jurisdiction” over

 3   estate property).

 4            Debtor disclosed her co-ownership of the Property in her Schedules. As such, the Debtor’s

 5   interest in the Property is property of the Estate and Debtor is subject to an order of the Court to turn

 6   over the Property to the Trustee.

 7            B.          The Court has personal jurisdiction over Debtor.
 8            “[T]he district court shall have original and exclusive jurisdiction of all cases under title 11.”

 9   28 U.S.C. § 1334(a). A debtor consents to personal jurisdiction of the bankruptcy court by filing a

10   bankruptcy petition. Sasson v. Sokoloff (In re Sasson), 424 F.3d 864, 870 (9th Cir. 2005) (“The

11   debtor invoked bankruptcy subject matter and in personam jurisdiction by filing a voluntary petition

12   in bankruptcy.”); see, e.g., In re Malek, 591 B.R. 420, 426 (Bankr. N.D. Cal. 2018) (“[Debtor]

13   consented to the equitable jurisdiction of the bankruptcy court by voluntarily filing a bankruptcy

14   petition.”); In re Kasl, 2009 Bankr. LEXIS 2351 at *10-11 (Bankr. C.D. Cal. January 13, 2009)

15   (“where the debtor voluntarily files a petition, the debtor submits to the personal jurisdiction of the

16   court sitting in the district in which he filed.”); In re Hunt, 2014 U.S. Dist. LEXIS 189464 at *34

17   (C.D. Cal. July 25, 2014) (“It is axiomatic that a bankruptcy court has personal jurisdiction over a

18   debtor who files a voluntary bankruptcy petition.”) (citing Securities and Exchange Comm’n v. Ross,

19   504 F.3d 1130, 1149 (9th Cir. 2007)).

20            Debtor has suggested in the course of the discussions with Trustee about turnover that

21   notwithstanding her obligation to turn over the Property, she may obtain permission from the

22   Children’s Trust, the co-owner of the Property, to remain at the Property. Trustee does not believe

23   that the Children’s Trust has any motivation to challenge the Court’s jurisdiction and permit Debtor

24   to remain in the Property. This Motion is not directed to the Children’s Trust, and Trustee is

25   separately negotiating terms with the Children’s Trust for the turnover of the Property to the extent

26   that the Children’s Trust has any possessory interest in the Property. Because Debtor’s interest in the

27   Property is an undivided interest, to the extent that Debtor argues that she may be granted permission

28   ///

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 1   from the co-owner to reside in the Property, this argument ignores reality, and Debtor must comply

 2   with an order of the Court regarding her occupancy of the Property.

 3            C.          Property of the Estate must be turned over to the Trustee.
 4            Property of the estate must be accounted for and turned over to the trustee. 11 U.S.C.

 5   § 542(a). “Bankruptcy Code § 542(a) grants a bankruptcy trustee the power to recover property of

 6   the debtor’s estate or such property’s value.” Shapiro v. Henson, 739 F.3d 1198, 1199 (9th Cir.

 7   2014). Present possession of an interest which constitutes property of the estate is not a prerequisite

 8   for the trustee seeking turnover of such property. Id. at 1204; see, e.g., APJL Consulting, LLC v.

 9   Treasures, Inc. (In re Treasures, Inc.), 2015 Bankr. LEXIS 662 at *59 (B.A.P. 9th Cir. 2015). A

10   Chapter 7 debtor has a statutory duty to “surrender to the trustee all property of the estate and any

11   recorded information, including books, documents, records, and papers, relating to property of the

12   estate.” 11 U.S.C. § 521(a)(4); see Mwangi v. Wells Fargo Bank, N.A. (In re Mwangi), 764 F.3d

13   1168, 1174 (9th Cir. 2014) (“…the debtor has a duty to surrender to the trustee all estate property.”);

14   see also Starky v. Birdsell (In re Starky), 522 B.R. 220, 227 (B.A.P. 9th Cir. 2014); see also, Mwangi

15   v. Wells Fargo Bank N.A. (In re Mwangi), 432 B.R. 812, 818, 822 (B.A.P. 9th Cir. 2010) (estate

16   property must be turned over to trustee; “the failure to return property of the estate with knowledge

17   of the bankruptcy is a violation of both the automatic stay and of the turnover requirements of the

18   Bankruptcy Code.”) (quoting Abrams v. Sw. Leasing & Rental, Inc. (In re Abrams), 127 B.R. 239,

19   242-43 (B.A.P. 9th Cir. 1991)).

20            In the course of negotiating the stipulation for turnover with Debtor, Debtor attempted to get

21   Trustee to agree to certain prospective provisions and conditions for turnover which were ultimately

22   not acceptable, including asking for a portion of the earnest money deposit from a future buyer of the

23   Property and requesting that Trustee prospectively agree to Debtor’s expenditure of homestead

24   exemption funds received in the future. Debtor’s positions unnecessarily complicated the

25   straightforward issue of turnover, and because Debtor and Trustee were unable to agree to terms and

26   conditions for Debtor’s occupancy, Trustee requests an order of the Court providing a date certain

27   for Debtor to be compelled to vacate the Property, which is enforceable by application of the Trustee

28   if Debtor refuses to comply.

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 1            D.          Procedures for Enforcement of Turnover Order.
 2            Bankruptcy courts have the power to authorize the issuance of a writ of execution or

 3   assistance authorizing and directing the Marshal to compel the surrender of real property. See Fed.

 4   R. Civ. P. § 70 (made applicable to adversary proceedings by Fed. R. Bankr. P. 7070); In re Kerlo,

 5   311 B.R. 256, 261 (Bankr. C.D. Cal. 2004) (“‘a writ of assistance to deliver . . . possession [of real

 6   property] . . . was agreeable to the usages and principals of law’ and ‘clearly lies under the express

 7   terms of Fed. R. Civ. P. 70.’”) (citing Hamilton v. McDonald, 503 F.2d 1138, 1148 (9th Cir. 1974)).

 8   Indeed, the Court may issue any order that is necessary and appropriate to carry out the provisions of

 9   the Bankruptcy Code. See 11 U.S.C. § 105(a). Section 105 also authorizes the Court to grant a

10   trustee’s request for issuance of a writ of assistance. Specifically, orders for possession of property

11   may be enforced through writs and orders under Section 105(a). See Kerlo, 311 B.R. at 262.

12            As set forth above, good cause exists for the Court to provide the Trustee with the means to

13   enforce any turnover order under FRBP 7070 and authorizing all efforts of the Trustee and the

14   Marshal to enforce the resulting turnover order should enforcement be necessary. The Trustee

15   further requests that the Court authorize the Clerk of the Court to issue a writ of assistance directing

16   the Marshal to enforce any resulting turnover order, at Trustee’s discretion. Otherwise, the Estate

17   may suffer irreparable harm, especially if the closing of a sale of the Property is delayed or frustrated

18   by Debtor.

19   4.       Conclusion
20            The Trustee respectfully requests that the Court enter an order:
21            1.          Granting this motion.
22            2.          Directing Debtor to vacate the Property by May 15, 2024 (“Turnover Deadline”).
23            3.          Authorizing the United States Marshals Service to effectuate an eviction of all
24    occupants and turn over possession of the Property to the Trustee or his agents should Debtor fail to
25    vacate the Property by the Turnover Deadline.
26    ///
27    ///
28    ///

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 1            4.          Pursuant to Local Bankruptcy Rule 7064-1(e), that Trustee is entitled to enforce such

 2    order by issuance of a writ of assistance to the United States Marshals Service pursuant to

 3    LBR 7064-1(e), which states as follows:

 4            Upon execution and entry of this Order, the United States Marshals Service [and any
              other executing officer authorized by the court] (collectively, the “U.S. Marshal”) is
 5            immediately directed to assist Trustee to enforce the underlying order awarding
              possession. Trustee and his authorized agent(s) will act as substitute custodian of any
 6            and all items of personal property seized pursuant to this Order and the U.S. Marshal
              shall have no liability arising from any acts, incidents, or occurrences in connection
 7            with the seizure of the personal property located at the subject real property arising in
              the ordinary authorized scope of duties of the U.S. Marshal (which acts do not include
 8            acts arising from negligent or intentional tortious conduct), including any third party
              claims and the U.S. Marshal shall be discharged of his or her duties and
 9            responsibilities for safekeeping of the seized goods. The U.S. Marshal accomplishing
              such eviction or seizure shall use whatever reasonable force necessary to break open
10            and enter the subject real property regardless of whether the premises or location is
              locked or unlocked, occupied or unoccupied and to inspect the contents of any room,
11            closet, cabinet, vehicle, container, desk or documents. Anyone interfering with the
              execution of this Order is subject to arrest by law enforcement officials.
12
              5.          For any such other and further relief as the Court deems just and proper.
13

14

15    DATED: April 9, 2024                     MARSHACK HAYS WOOD LLP

16

17
                                               By: /s/ Tinho Mang
18                                                D. EDWARD HAYS
                                                  TINHO MANG
19                                                Attorneys for Chapter 7 Trustee
                                                  ARTURO M. CISNEROS
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 1                                      Request for Judicial Notice
 2            Arturo M. Cisneros, solely in his capacity as Chapter 7 trustee (“Trustee”) of the bankruptcy

 3   estate of Shamicka Lawrence (“Debtor”), requests pursuant to Rule 201 of the Federal Rules of

 4   Evidence, that this Court take judicial notice of the following:

 5        EXHIBIT          DESCRIPTION
 6                1        A true and correct copy of the Debtor’s schedules is attached as Exhibit 1.
 7

 8    DATED: April 9, 2024                MARSHACK HAYS WOOD LLP
 9

10
                                          By: /s/ Tinho Mang
11                                           D. EDWARD HAYS
                                             TINHO MANG
12                                           Attorneys for Chapter 7 Trustee,
                                             ARTURO M. CISNEROS
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: CHAPTER 7 TRUSTEE’S MOTION FOR ORDER
COMPELLING DEBTOR AND ANY OTHER OCCUPANTS TO VACATE AND TURN OVER REAL PROPERTY BY
MAY 15, 2024; AND AUTHORIZING ISSUANCE OF WRIT OF ASSISTANCE; MEMORANDUM OF POINTS OF
AUTHORITIES; DECLARATION OF ARTURO M. CISNEROS will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On April 9,
2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On April 9, 2024, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                                 INTERESTED PARTY
 SHAMICKA LAWRENCE                                      ALL OCCUPANTS AND/OR TENANTS OCCUPYING THE REAL PROPERTY
 11364 ESTATES COURT                                    LOCATED AT:
 RIVERSIDE, CA 92503-0639                               11364 ESTATES COURT
                                                        RIVERSIDE, CA 92503-0639


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on April 9, 2024, I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

VIA OVERNIGHT MAIL:
HONORABLE WAYNE JOHNSON
UNITED STATES BANKRUPTCY COURT
3420 Twelfth Street, Suite 384 / Courtroom 304
Riverside, CA 92501-3819

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 April 9, 2024                  Chanel Mendoza                                                   /s/ Chanel Mendoza
 Date                                  Printed Name                                              Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


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